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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CIVIL DIVISION


LACEY MOORE, on behalf of herself,
and all others similarly situated                                                      PLAINTIFFS

vs.                                 CASE NO.:- - - - - - -

MAXUS PROPERTIES, INC.                                                                 DEFENDANT


                                 COMPLAINT- CLASS ACTION

         COMES NOW the Plaintiff Lacey Moore, by and through her attorneys Davidson Law

Firm, Ltd., pursuant to Arkansas Rule of Civil Procedure 23, on behalf of herself and others

similarly situated, and for her Complaint- Class Action states the following:

                                        Statement of the Case

      1. This Arkansas class action lawsuit involves the fire at Forest Place Apartments in Little

         Rock, Arkansas (hereinafter "Forest Place") on or around May 16, 2013 (hereinafter "the

         Fire"), and directly impacts the individuals who were residents of Forest Place

         Apartments at that time.

      2. Upon information and belief, 34 apartments were destroyed by the Fire, and 150 people

         sustained damage to their personal property as a direct result of the Fire.

      3. Plaintiffs bring this lawsuit to recover for the permanent damage sustained through loss

         of personal property, the expenses of replacement housing, both physical and emotional

         injury, and the cost of medical expenses on behalf of all tenants as similar residents of

         Forest Place at the time of the Fire.
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                                         Parties

4. Plaintiff Lacey Moore currently resides at 42 Berkshire Drive, Little Rock, Arkansas

   72204, Pulaski County. Ms. Moore was a resident of Forest Place at the time of the Fire,

   and has sustained extensive damages as a result of the Fire.

5. Upon information and belief, Forest Place is owned by Maxus Properties, Inc.

   (hereinafter "Maxus). Maxus is a Missouri foreign corporation authorized to business in

   the State of Arkansas. Maxus can be served with process through its Arkansas registered

   agent The Corporation Company, 124 W. Capitol Avenue, Suite 1900, Little Rock,

   Arkansas 72201.

6. At all times alleged herein, Defendant owned, failed to maintain, and failed to inspect the

   Forest Place apartments located in Little Rock, Pulaski County, Arkansas.

                                Jurisdiction and Venue

7. This Court has jurisdiction of this matter in that the wrongdoing alleged in this Complaint

   took place in Pulaski County, Arkansas. Maxus is authorized to do business in the State

   of Arkansas, and has purposefully availed itself to Arkansas jurisdiction.

8. Venue is proper in this Court pursuant to A.C.A. § 16-55-213.

                                  Factual Allegations

9. Defendant owns and maintains Forest Place, which is an apartment complex located at

   1421 N. University Avenue, Little Rock, Arkansas 72207.

10. As part oftheir lease agreements with Defendant and Forest Place, residents are required

   to purchase renter's insurance through a renter's insurance plan offered by Defendant and

   Forest Place. Representatives of Defendant and Forest Place told Plaintiff Lacey Moore

   that the purpose of the insurance was to "protect you and us."



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11. Plaintiff Lacey Moore was initially told by Representatives of Defendant and Forest

   Place that her renter's insurance covered her personal property. Ms. Moore has now been

   informed that her policy covers personal liability only.

12. Pursuant to the Plaintiffs lease agreements, and in consideration for the rent paid by the

   residents, Defendant owes a duty to the Plaintiffs to provide safe living conditions.

13. The Fire alleged in this Complaint occurred on or around May 16, 2013. Early reports

   show that the Fire began in the apartment's garbage collection system, whereby a central

   trash chute leads down to a dumpster in the parking area. The Fire traveled up through

   the trash chute into the attic of the apartment building, causing destruction of at least 34

   individual apartments.

14. On numerous occasions the trash chute would be filled completely from the dumpster

   below, all the way to the depository door. This created multiple fire hazards.

15. This Fire was the third fire to occur at Forest Place since February of 2013. All three

   fires reportedly occurred in the same garbage collection system.

16. Specifically due to the multiple occurrences of fires caused in the same manner,

   Defendant owed a duty to the Plaintiffs to provide safe living conditions, and to take

   precautions to prevent subsequent fires, including the Fire on May 16, 2013.

17. In a breach of its duty owed to the Plaintiffs, Defendant did not take, and has not taken,

   any action in an attempt to protect the Plaintiffs after the occurrences of the first, second,

   and third fires.

18. Despite the multiple fires, Defendant continuously failed to provide adequate fire

   detection methods, in that Defendant failed to provide the Plaintiffs with adequate smoke

   detectors and adequate fire alarms.



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19. Despite the multiple fires, Defendant continuously failed to provide adequate security to

   the Plaintiffs, in that Defendant failed to provide the Plaintiffs with adequate security

   camera coverage and adequate fire sprinklers.

20. Despite the multiple fires, Defendant has failed and refused to remedy the faulty design

   of the trash chute.

                                Class Action Allegations

21. Plaintiff brings this claim for herself and for all others similarly situated to obtain

   monetary relief pursuant to Arkansas Rule of Civil Procedure 23. Plaintiffs seek to

   certify this lawsuit as a class action, and Lacey Moore seeks to be appointed as the class

   representative authorized to bring this collective action.

22. The class is comprised of"all residents ofForest Place as ofMay 16, 2013 who sustained

   damages from the Fire on or around May 16, 2013."             The class members may be

   identified with precision through objective criteria. The exact number of class members

   is unknown at this time, but the approximate size of the class is in the hundreds. Pursuant

   to Arkansas Rule of Civil Procedure 23, the class is so numerous that joinder of all

   members is impracticable.

23. Pursuant to Arkansas Rule of Civil Procedure 23, there are questions of law and/or fact

   common to the class members. The class members all were residents in the unsafe Forest

   Place building affected by the Fire, and were all subject to the actions and inactions of the

   Defendant. The claims of each class member arise from a common nucleus of operative

   facts relevant to each class member, and each class member is suing under common legal

   theories. The common issues of law or fact for the class include, but are not limited to:




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       a. Whether Defendant owed a duty to maintain a safe residence to Plaintiffs in light

            of the multiple and similar fire occurrences;

       b. Whether Defendant breached its duty by failing to provide and maintain a safe

           residence;

       c. Whether Defendant's breach was the proximate cause of damages to the

            Plaintiffs; and

       d. What is the measure of the class-wide damages?

24. Pursuant to Arkansas Rule of Civil Procedure 23, the claims of Lacey Moore are typical

   of the claims for the rest of the class members. There is also common liability and

   common wrongful conduct by the Defendant applicable to all class members, and the

   defenses of the Defendant are expected to be common toward the class members.

25. Pursuant to Arkansas Rule of Civil Procedure 23, Lacey Moore will fairly and adequately

   represent and protect the interests of the class members, as she was a resident of Forest

   Place as of May 16, 2013 who sustained damages as a result of the Fire.

26. Lacey Moore has retained counsel to represent her and the class members who have

   extensive experience representing parties related to tortious conduct and damaged

   property claims, and who have knowledge and experience of the laws applicable to this

   case, and who have knowledge of the procedural nature of Arkansas Rule of Civil

   Procedure 23.

27. This lawsuit should be certified as a class action because individually affected members

   who prosecute separate actions would cause unnecessary extensive litigation which

   would result in the risk of inconsistent findings on the same set of operative findings of

   liability.   There would be inconsistent and varying adjudications with respect to



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    individual class members that would establish incompatible standards of conduct for the

    Defendant, and individual adjudications would affect the interest and rights of individuals

    not made a party to this lawsuit.

28. Pursuant to Arkansas Rule of Civil Prqcedure 23, the common questions of law and fact

    predominate over any questions affecting individual members.             This lawsuit as a

   collective action is a superior means of litigating this case for the reasons states above.

                                   Claim I- Negligence

29. Plaintiffs reallege the preceding paragraphs and incorporate them by reference herein as

   though stated word-for-word.

30. Defendant owed a duty to Plaintiffs to provide safe living conditions, free from the

   unnecessary dangers of similar multiple fire occurrences.

31. Defendant breached its duty to Plaintiffs by continuously failing and refusing to provide

   adequate fire detection methods and adequate fire prevention security measures.

32. Defendant breached its duty by continuously failing to provide and maintain an adequate

   trash collection design.

33. In light of Defendant promoting insurance coverage that protected both the Defendant's

   property and the Plaintiffs' property, Defendant owed a duty to provide an insurance plan

   that did so.

34. Defendant has breached its duty by providing an insurance plan to Plaintiffs that includes

   only liability coverage.

35. As a direct and proximate result of Defendant's breach of these duties, Plaintiffs have

   suffered damages including permanent damage sustained through loss of personal

   property, the expenses of replacement housing, both physical and emotional injury, and



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        the cost of medical expenses. The exact amount of these damages is unknown at this

        time, but will be proven at the trial of this matter.

    36. Plaintiffs demand a trial by jury.

        WHEREFORE, Plaintiffs respectfully pray that this Court grant them the following

relief as follows:

        a) For an order certifying this lawsuit to proceed as a class action;

        b) For an order appointing Lacey Moore as Class Representative and appointing her

            counsel as counsel for all Class Members;

       c) For compensatory damages for each Class Member;

       d) For pre-judgment interest and post-judgment interest;

       e) For costs, expenses, and fees;

       f) For reasonable attorney fees; and

       g) For all other just and proper relief to which they may be entitled.

                                               Respectfully submitted,

                                                Is/ Benjamin A. Kent
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